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1                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
2
     UNITED STATES OF AMERICA,                         3:20-CR-00056-LRH-WGC
3
                   Plaintiff,                          [Proposed] Order Granting
                                                       ORDER GRANTING
4                                                      Motion to Dismiss the Indictment
           v.                                          Without Prejudice
5
     EDUARDO LANDEROS-HERANDEZ,
6
                   Defendant.
7

8
           Pursuant to Federal Rule of Criminal Procedure 48(a), and upon leave of Court, the
9
     United States hereby dismisses without prejudice the Indictment against Defendant
10
     Eduardo Landeros-Hernandez.
11

12
                                                       NICHOLAS A. TRUTANICH
13                                                     United States Attorney

14                                                     /s/ Randolph J. St. Clair
                                                       RANDOLPH J. ST. CLAIR
15                                                     Assistant United States Attorney

16
           Leave of Court is granted for the filing of the above dismissal.
17
           DATED this
                  this _______
                       11th day day  of ___________,
                                of January, 2021.    2021.
18

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20                                                               _____
                                        HONORABLE LARRY R. HICKS
21                                      UNITED STATES DISTRICT JUDGE
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